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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

KRISTINA SAVTCHOUK,
Case No. 1:22-ev-000659-ENV-
IRC
Plaintiff,
-against-
CHERSTEV EAST THIRD LLC,
CHERYL BORKOWSKI,

HERTZ, CHERSON & ROSENTHAL, P.C.,

And SMITH, CARROAD, LEVY, WAN & PARIKH, P.C.

x

AGREED ORDER OF DISMISSAL WITH PREJUDICE AS TO ALL DEFENDANTS

Plaintiff, KRISTINA SAVTCHOUK, hereby voluntarily dismisses this action against
Defendants CHERSTEV EAST THIRD LLC, CHERYL BORKOWSKI, HERTZ, CHERSON &
ROSENTHAL, P.C., and SMITH, CARROAD, LEVY, WAN & PARIKH, P.C. with prejudice,
and without costs, disbursements, or attorney's fees to either party as against the other pursuant
to Fed.R.Civ.P. Rule 41(a)(2). Said Parties request that the Court retain jurisdiction to enforce
the tertris-of the settlement between said parties. An execuied ‘faxed or scanned copy of this

Agreed Order shall be deemed as a signed original.

SO ORDERED this day of , 2022:

Hon. James R. Cho

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AGREED:

KRISTINA SAVTCHOUK.
_Ahmad Keshavarz Seeetncs

By : au) Aa HT a a a

Ahmad Keshavarz
The Law Office of Ahmad Keshavarz

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CHERSTEV EAST THIRD-.LLC
CHERYL BORKOWSKI

By: Frank Oewnpies| CB.
Frank Scanga “
Law Office of Frank A. Scanga

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AGREED:

Pe PC eS P.C,
By: "Cs Aap”

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AGREED:

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